             Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 1 of 24 PageID: 478
                                                                               Arnold C. Lakind                       Of Counsel
                                                                               Barry D. Szaferman                     Stephen Skillman
                                                                               Jeffrey P. Blumstein                   Linda R. Feinberg
                                                                               Steven Blader- Rtd.                    Anthony J. Parrillo
                                                                               Brian G. Paul+                         Paul T. Koenig, Jr.
                                                                               Craig J. Hubert++                      Nathan M. Edelstein**
                                                                               Michael R. Paglione*                   Keith L. Hovey***
                                                                               Lionel J. Frank**                      Jeffrey M. Hall
                                                                               Jeffrey K. Epstein+
                                                                               Stuart A. Tucker                       Lindsey Moskowitz Medvin**
Szaferman, Lakind, Blumstein & Blader, P.C.                                    Scott P. Borsack***                    Robert L. La kind***
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                                                                               Robert P. Panzer                       Jason M. Sokel**
f: 609.275.4511                                                                Benjamin T. Branche*
www.szaferman.com                                                              Robert G. Stevens Jr.**                Counsel
                                                                               Michael D. Brottman**                  Bhuchar Law Firm
                                                                               Janine Danks Fox*                      www .bhucharlaw .com
                                                                               Thomas J. Manzo**                      Tel(609)514-5195

                                                                               +Certified Matrimonial Attorney        Counsel
                                                                               ++Certified Civil and Criminal Trial
                                                                                                                      Huff, Moran & Orron, LLC
                                                                               Attorney
                                                                               'NJ & PA Bars                          1246 South River Road
                                                                               "NJ & NY Bars                          Cranbury, NJ 08512
                                                                               '**NJ, NY & PA Bars                    Tel(609)655-3600




                                                         November 7, 2018

               Via Electronic Filing and Email (lhg_orders@njd.uscourts.gov)

               Hon. Lois H. Goodman, U.S.M.J.
               Clarkson S. Fisher Building & U.S. Courthouse
               402 East State Street, Courtroom 7E
               Trenton, New Jersey 08608

                           Re:     William and Margie Anderton v. 3M Company, et al.
                                   Case No. 3:18-cv-14949 (MAS)(LHG)

               Dear Judge Goodman:

                       This firm, along with the firm of Simon Greenstone Panatier, LLC, represents Mr. and
               Mrs. William Anderton in connection with the above-referenced matter, which was recently
               removed to this Court from the Superior Court ofNew Jersey, Middlesex County. Mr. Anderton
               is terminally ill with mesothelioma as a result of his exposure to asbestos-containing products
               that were manufactured and/or distributed by the Defendants.' The purpose of this letter is to
               request that, given Mr. Anderton's worsening condition, this Court enter an Order on short notice
               allowing his video discovery deposition to proceed on November 14,2018. We are raising this
               discovery issue by way of letter, rather than a formal motion, after speaking with your chambers.

                       An understanding of the procedural history of this case is needed to evaluate the propriety
               of the Plaintiffs' request. Mr. and Mrs. Anderton originally filed a complaint in the Superior

               1
                The Third Circuit has recognized that mesothelioma is an "invariably fatal cancer ... for which asbestos
               exposure is the only known cause ... " In re Patenaude, 210 F.3d 135, 138 (3d Cir.), ceti. den., 531 U.S.
               1011 (2000). Those who suffer from mesothelioma, like Mr. Andetion, "generally [die] within two years
               of diagnosis", during which time "mesothelioma victims invariably suffer great pain and disability."
               Georgine v. Amchem Products, Inc., 83 F.3d. 610, 633 (3d Cir.), affd., 521 U.S. 591 (1997).


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Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 2 of 24 PageID: 479

                                                                       Han. Lois H Goodman, U.S.MJ
                                                                                     November 7, 2018

                                                                                                     Page 2


 Court ofNew Jersey on October 3, 2018. On October 8, 2018, and pursuant to the relevant New
 Jersey Mass Tort Guidelines, my office submitted a Request for a Recommendation to the
 Special Discovery Master seeking permission from the Court to conduct a discovery and de bene
 esse deposition ofMr. Anderton beginning on November 14,2018. [Exhibit A] 2 The
 Recommendation Request included a Notice of Deposition under the State Court caption.
 [Exhibit A at p. 10] The Request for Recommendation was simultaneously served on all counsel
 of record for the Defendants named in the complaint. [Exhibit A at pp. 3-5] None of the
 Defendants filed and opposition with the Special Discovery Master.

        On October 12, 2018, Counsel for Defendant, Revlon, Inc., filed a Notice of Removal
 removing the Anderton's complaint to this Court pursuant to Title 28 U.S.C. §§ 1441 and 1332.
 [Docket #1]. Plaintiffs subsequently filed a Motion to Remand on October 16, 2018which is
 returnable before Your Honor on November 19,2018. [Docket #4]

         Apparently unaware that the Anderton litigation had been removed to Federal Court, the
 Special Discovery Master granted the Anderton's Request for Recommendation on October 16,
 2018. [See Exhibit Bat pp. 7-8] 3 On October 18, 2018, Plaintiffs served all defendants with a
 copy of the Special Discovery Master's Recommendation, along with a Notice of Deposition
 which was issued this time under the Federal Court caption. [See Exhibit B] Pursuant to the
 Recommendation, Plaintiffs' counsel has now furnished Defendants with certified answers to
 interrogatories, a copy of Mr. Anderton's pathology report and a copy of all his available
 medical records.

         Yesterday Plaintiffs received emails from counsel for both Revlon, Inc. and Pfizer, Inc.
 objecting to the proposed deposition of Mr. Anderton on grounds that the deposition notice
 issued under the Federal Court caption [Exhibit Bat p. 6] did not comply with the Federal Rules
 of Civil Procedure. As a result- and in light of the fact that Mr. Anderton is terminally ill, is
 experiencing increasing periods of difficulty and his condition is a matter of day-to-day concern-
 Plaintiffs are making application by way of this letter for an Order permitting Mr. Anderton's
 video discovery deposition to proceed on November 141h pursuant to the Notice of Deposition
 issued under the Federal Court caption and the terms set forth in the Recommendation issued by
 the Special Discovery Master. See, F.R.C.P. 30(a)(2).




 2
 My cover letter to the Special Master references five categories of documents. Plaintiffs have only
included the first two categories in the attached Exhibit A because categories three through five are
voluminous and not otherwise relevant to the issues raised herein.
 3
 Again, my cover letter to all defense counsel references five categories of documents. Plaintiffs have
only included the first two categories in the attached Exhibit B because categories three through five are
voluminous and not otherwise relevant to the issues raised herein.


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Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 3 of 24 PageID: 480

                                                    Han. Lois H Goodman, U.S.MJ
                                                                 November 7, 2018

                                                                          Page 3




 c:      Joseph Mandia, Esq.
         All Counsel on the Attached Service List




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Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 4 of 24 PageID: 481



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                  Exhibit A
          Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 5 of 24 PageID: 482

                                                                              Arnold C. Lakind           Of Counsel
                                                                              Barry D. Szaferman         Stephen Skillman
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                                                                              Craig J. Hubert++          Paul T. Koenig, Jr.
                                                                              Michael R. Pagl\one*       Nathan M. Edelstein**
                                                                              Lionel J. Frank**          Janine Danks Fox•
                                                                              Jeffrey K. Epstein+        E. Elizabeth Sweetser
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                                                                              Scott P. Borsack***        Jeffrey M. Hall
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Attorneys at law                                                              Robert E. Lytle            Lindsey Moskowitz Medvin**
                                                                              Janine G. Bauer•••         Robert L. Lakind***
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                                                                              1246 South River Road      ++Certified Civil and Criminal Trial Attorney
                                                                                                         *NJ & PA Bars
                                                                              Cranbury, NJ 08512         **NJ & NY Bars
                                                                                                         ***NJ, NY & PA Bars




                                                            October 8, 2018

              VIA EMAIL AND OVERNIGHT DELIVERY

               To: All Counsel on Attached List

                          Re:     Anderton v. 3M Company, et al.
                                  Docket No. MID-1- 5866 -18AS

              Dear Counsel:

                          Enclosed please find the following in service upon you regarding this matter:

                          1.      A copy of a request of Special Master Agatha Dzikiewicz to approve a
                                  Recommendation, permitting a video discovery deposition and a video de bene
                                  esse Deposition of Plaintiff, William Anderton;

                          2.      A Notice ofDeposition of Plaintiff, William Anderton, for a video discovery
                                  deposition to be held on Wednesday November 14, 2018, beginning at 10:00
                                  a.m. CST and continuing day to day thereafter as needed, and a video de bene
                                  esse deposition to be held on a Date and Time to be determined and
                                  continuing day to day thereafter as needed provided the Recommendation is
                                  approved;

                          3.      A copy of Plaintiffs' Complaint filed in this matter;

                          4.      A certified copy of Plaintiffs' Answers to Standard Interrogatories, Part I;



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   Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 6 of 24 PageID: 483
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                                                                                              All Counsel
SZAFERMANl                                                                                October 8, 2018
    LAKIND!                                                                                        Page 2




                 5.       A copy of Plaintiffs Pathology Report. Any additional medical records received
                          prior the deposition will be provided to counsel; and


                 Thank you.




                                                         By:



     REL!gah
     Enclosures
     c:     All Counsel On Attached List
            Leah C. Kagan, Esq.




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    Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 7 of 24 PageID: 484

      WILLIAM ANDERTON and MARGIE ANDERTON v. 3M COMPANY, et al. et al

                                DOCKET NO. MID-L-5866 -18AS

                                  COUNSEL MAILING LIST
LAST UPDATED: 10.5.18
ATTORNEY:REL

OurFile:           .1
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    Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 8 of 24 PageID: 485



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Consumer Products Corporation




        2790098,1
    Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 9 of 24 PageID: 486



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CONOCOPHILLIPS COMPANY
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Houston, Texas 77079


THE LINCOLN ELECTRIC COMPANY
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Corporate Headquarters
6106 E. 32nd Place, Suite 100
Tulsa, OK 74135


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Houston, Texas 77079




        2790098.1
          Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 10 of 24 PageID: 487
                                                                           Arnold c. Lakind                  Of Counsel
                                                                           Barry D, Szaferman                Stephen Skillman
                                                                           Jeffrey P, Blumstein              Linda R. Feinberg


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                                                                           Brian G. Paul+
                                                                           Craig J, Hubert++
                                                                                                             Anthony J, Parrillo
                                                                                                             Paul T. Koenig, Jr.
                                                                                                             Nathan M. Edelstein**
                                                                                                             Keith L. Hovey***

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                                                                           Michael R. Paglione*
                                                                           Lionel J. Frank**                 Jeffrey M. Hall
                                                                           Jeffrey K. Epstein+
                                                                           Stuart A. Tucker                  Lindsey Moskowitz Medvln **
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                                                                           **NJ & NY Bars                    Cranbury, NJ 08512
                                                                           ***NJ, NY & PA Bars               Tel(609)655-3600

                                                         October 8, 2018

               VIA HAND DELIVERY

               Agatha Dzikiewicz, Esq.
               Special Master
               Mass Tort Litigation
               56 Paterson Street
               Chambers 204
               New Brunswick, NJ 08903

                            Re:    Anderton v. 3M Company, et al
                                   Docket No. MID-L- 5866 -18AS

               Dear Ms. Dzikiewicz:

                       Enclosed please find an original Recommendation which seeks authorization to conduct a
               video discovery and a video de bene esse deposition of the Plaintiff, William Anderton, in the
               above-referenced matter. Also enclosed is a copy of Plaintiffs' filed Complaint in this matter,
               counsel list, Plaintiffs' Answers to Standard Interrogatories, Part I, and Pathology Report.
               Plaintiff would like to conduct the video discovery deposition on Wednesday November 14,
               2018 at 10:00 a.m. (continuing day to day thereafter as needed), and a video de bene esse
               deposition on a date and time to be determined (continuing day to day thereafter as needed). I
               am requesting these depositions inasmuch as the Plaintiff is terminally ill with mesothelioma, his
               health is in serious decline and his life expectancy is very short.

                      By a copy ofthis letter, I am advising my adversaries that, unless notice is provided to
               you and this office, in writing, of specific objections within five days after service of the
               enclosed, this Recommendation may be signed in yoUl' discretion.




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   Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 11 of 24 PageID: 488
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                  I


SZAFERMANi                                                    Agatha Dzikiewicz, Esq., Special Master
                                                                                      October 8, 2018
    LAKIND!                                                                                    Page 2




              If there are no objections, and the Recommendation meets with your approval, I would
      appreciate it if you would be ldnd enough to sign and fax a copy to my attention. I have included
      a self-addressed stamped envelope so that a file stamped copy of the original may be returned to
      me.

              Thank you for your consideration in this matter. If you have any questions, please do not
      hesitate to contact me.




      REL/gah
      Encl.
      c:    All Counsel on attached list
            Leah C. Kagan, Esq.




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Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 12 of 24 PageID: 489




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  By: Robert E. Lytle (NJ ID# 046331990)

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  (214) 276~7680
  By: Leah Kagan (NJ ID# 013602009)

  Attorneys for Plaintiffs

    WILLIAM ANDERTON and MARGIE                       SUPERIOR COURT OF NEW JERSEY
    ANDERTON,                                         LAW DIVISION, MIDDLESEX COUNTY

                           Plaintiffs,                DOCKET NO.: MID-L- 5866 -18AS

                      v.
                                                            Civil Action- Asbestos Litigation

    3M COMPANY, et al.,

                           Defendants.
                                                                RECOMMENDATION



               THIS MATTER, having come before Special Master Agatha N. Dzildewicz, Esq. on

   October 8, 2018, upon informal application ofSzaferman, Lakind, Blumstein & Blader, P.C.,

   attorneys for Plaintiffs, requesting permission from the Court to conduct a video discovery and a

   video de bene esse deposition of Plaintiff, William Anderton, and the Special Master having

   considered the moving papers, and there being no opposition, and for good cause shown;

               IT IS, on this _ _ _ day of October, 2018;

               RECOMMENDED, that the Plaintiffs video discovery deposition be scheduled on

   Wednesday November 14,2018, continuing day-to-day thereafter as needed, to be held at the



   2791309.1
Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 13 of 24 PageID: 490




  Location: Quality Inn and Suites, 2320 Leopard Lane, Malvern, AR 72104 to begin atlO:OO a.m.

   CST; and it is

               RECOMMENDED, that the Plaintiffs video de bene esse deposition be taken on a date

   and time to be determined, continuing day to day thereafter as needed; and

               IT IS FURTHER RECOMMENDED that Plaintiffs counsel furnish Plaintiffs answers

   to interrogatories certified by Plaintiff and any available medical records prior to the discovery

   deposition; and

               IT IS FURTHER RECOMMENDED that additional costs associated with ordering a

  transcript on an expedited basis, to the extent necessary, should be borne by the Plaintiff, and

               IT IS FURTHER RECOMMENDED that all counsel may reschedule these depositions

   without further leave of Court; and

               IT IS FURTHER RECOMMENDED that counsel should forward a copy of this

   recommendation to all counsel of record via facsimile or email immediately upon receipt.




                                      SPECIAL MASTER AGATHA N. DZIKJEWICZ, ESQ.




   2791309.1
Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 14 of 24 PageID: 491




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   By: Robert E. Lytle (NJ ID# 046331990)

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   (214) 276-7680
   By: Leah Kagan (NJ ID# 013602009)

   Attorneys for Plaintiffs

                                                               SUPERIOR COURT OF NEW JERSEY
    WILLIAM ANDERTON and MARGIE                                LAW DIVISION, MIDDLESEX COUNTY
    ANDERTON,
                 Plaintiffs,                                   DOCKET NO.: MID-L- 5866 -18AS

                         v.
                                                                       Civil Action- Asbestos Litigation
    3M COMPANY, et al.,

                              Defendants.
                                                                          NOTICE OF DEPOSITION

   TO:         All Counsel on Attached List

               PLEASE TAKE NOTICE that, pursuant to New Jersey Rules of Court, testimony will be taken by

   deposition upon oral examination of the Plaintiff, William Anderton, to be held at Location: Quality Inn and

   Suites, 2320 Leopard Lane, Malvern, AR 72104 on the dates and times set forth below:
                      Deposition

         Video Discovery                         Wednesday, November 14,2018                10:00 a.m. CST
                                                continuing day to day thereafter as
                                                             needed.

         Video de bene esse                         On a date to be determined,                   TBD
                                                 continuing day to day thereafter as
                                                   needed. continuing day to day
                                                        thereafter as needed.




   Dated: October    _t, 2018


   2791309.1
Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 15 of 24 PageID: 492



                                      U.S. DISTRICT COURT
                                DISTRICT OF NEW JERSEY (Trenton)


   WILLIAM ANDERTON and MARGIE
                                                   .
   ANDERTON,                                       ! CASE NO.: 3:18~cv~14949-MAS~LHG
                       Plaintiffs,                 .
                                                   ..     Civil Action- Asbestos Litigation
                  v.                               ..
                                                   .
   3M COMPANY, et al.,
                                                             NOTICE OF DEPOSITION
                       Defendants.

                                                   ..
          PLEASE TAKE NOTICE that, pursuant to the Federal Rules of Civil Procedure and the
  annexed Signed Recommendation of the Asbestos Special Master of the Middlesex County New
  Jersey Superior Court, testimony will be taken by deposition upon oral examination of the
  Plaintiff, William Anderton, to be held at Quality Inn and Suites, 2320 Leopard Lane, Malvern,
  AR 72104 on the date and time set forth below:

                Deposition

       Video Discovery                  Wednesday, November 14,2018          10:00 a.m. CST
                                       continuing day to day thereafter as
                                                    needed.


          PLEASE TAKE FURTHER NOTICE that the deposition will be video recorded.

                                            SZAFERMAN, LAKIND,
                                             BLUMSTEIN & BLADER, P.C.


                                               Uct {~ 6tfi/cJfi1
                                            Robert E. Lytle (NJ ID# 046331990)
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                  Exhibit B
         Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 17 of 24 PageID: 494

                                                                                    Arnold C. Lakind           Of Counsel
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                                                                                    Cranbury, NJ 08512         **NJ & NY Bars
                                                                                                               ***NJ, NY & PA Bars




                                                                 October 18, 2018

                   Our File# 71660.1



                   VIA EMAIL AND OVERNIGHT DELIVERY

                   To: All Counsel on Attached List


                             Re:       Ande1ton v. 3M Company, et al.
                                       Docket No. MID-L- 5866 -18AS


                   Dear Counsel:

                            Enclosed please find the following in service upon you regarding this matter:

                            1.         AN otice of Deposition of Plaintiff, William Anderton, for a video discovery
                                       deposition to be held on Wednesday November 14,2018, beginning at 10:00
                                       a.m. CST and continuing day to day thereafter as needed.

                            2.         A copy of the Recommendation approved by Special Master Agatha Dzildewicz
                                       permitting a video discovery deposition and a video de bene esse Deposition of
                                       Plaintiff, William Anderton;

                            3.         A copy of Plaintiffs' Complaint filed in this matter;

                            4.         A certified copy of Plaintiffs' Answers to Standard Interrogatories, Part I; and




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SZAFERMAN!                                                                                   All Counsel
                                                                                        October 18, 2018
   LAKIND!                                                                                        Page 2



                5.       A copy of Plaintiffs Pathology Report. Any additional medical records received
                         prior the deposition will be provided to counsel.


                Thank you.

                                                             Very truly yours,

                                                             SZAFERMAN, LAIGND,
                                                              BLUMSTEIN & BLADER, P.C.


                                                       By:


    REL!gah
    Enclosures
    c:     All Counsel On Attached List
           Leah C. Kagan, Esq.




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    Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 19 of 24 PageID: 496

       WILLIAM ANDERTON and MARGIE ANDERTON v. 3M COMPANY, et al. et al

                                DOCKET NO. MID-L-5866 -18AS

                                  COUNSEL MAILING LIST
LAST UPDATED: 10.17.18
ATTORNEY:REL

Our File: 71660 .1
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    Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 20 of 24 PageID: 497



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CONOCOPHILLIPS COMPANY
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Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 22 of 24 PageID: 499



                                          U.S. DISTRICT COURT
                                    DISTRICT OF NEW JERSEY (Trenton)



   WILLIAM ANDERTON and MARGIE
                                                       .
   ANDERTON,                                           j CASE NO.: 3:18"cv"14949"MAS"LHG
                           Plaintiffs,
                                                       .
                                                              Civil Action- Asbestos Litigation
                      v.

   3M COMPANY, et al.,
                                                                 NOTICE OF DEPOSITION
                           Defendants.



              PLEASE TAKE NOTICE that, pursuant to the Federal Rules of Civil Procedure and the
  annexed Signed Recommendation of the Asbestos Special Master of the Middlesex County New
  Jersey Superior Court, testimony will be taken by deposition upon oral examination of the
  Plaintiff, William Anderton, to be held at Quality Inn and Suites, 2320 Leopard Lane, Malvern,
  AR 72104 on the date and time set forth below:

                    Deposition

       Video Discovery                      Wednesday, November 14,2018          10:00 a.m. CST
                                           continuing day to day thereafter as
                                                        needed.


              PLEASE TAKE FURTHER NOTICE that the deposition will be video recorded.

                                                SZAFERMAN, LAKIND,
                                                 BLUMSTEIN & BLADER, P.C.

                                                       / " ,       __/ ,,-,; I
                                                     ~~d~       { ;1~ · IL/(j;vl
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Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 23 of 24 PageID: 500




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                                                                                   OCT 16 2018
    SIMON GREENSTONE PANATIER, P.C.
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    Dallas, TX 75270
    (214)276-7680
    By: Leah Kagan (NJ lD# 013602009)

    Attorneys for Plainl\1lq

      WILLIAMANDERTON and MARGiE                               l SUPERIOR COURT OF NEW JERSEY
      ANDERTON,                                                I LAw DIVISION, MIDDLESEX COUNTY
                                                               I
                                 Plaintiffs,                   ~ DOCKETNO.: MID~L~ 5866 -18AS

                            v.                                 I
                                                               l       Civil Action -Asbestos Litigation

     3M COMPANY, el ul.,
                                                               l
                                                               I
                                                               l

                                 Defendants.                   !
                                                               II          RECOMMEND A TlON
                                                               I




                    THIS MATTER, having come before Specht! Master Agatha N. Dzikicwicz, Esq. on

    October 8, 201 8, upon informal application of Sztrfennun, Lakind, Blumstein &            Btac;i~r,   P.C.,

    attorneys for Plaintiffs, requesting permission f1·om the Cou1tto conduct a video discovery and a

    video de bene esse cleposltlon of' Plaintiff, William Anderton, and the Special Masterhaviilg

    considered the movi.ng papers, and thete being no opposition, and tbr good cause shown;

                    ITIS, on this       I (p   day ofOclober, 20 18;

                    RECOMMENDED, that the Plaintiffs video discovery deposition be scheduled em

    Wednesday Novcmbct' 14, 2{)18, continuing day-to-day thereafter as needed, to be held t~tthe


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Case 3:18-cv-14949-MAS-LHG Document 33 Filed 11/07/18 Page 24 of 24 PageID: 501




    Location: Quullty hut and Stiltes, 2320 Leopard Lane; Malvem, AR 72104 to begin at 10:00 n~in.

    CST; and it is

                   RECOMMENDED, that the Plaintiff's video de bene esse deposition be taken oha . datc

    and time to be determJned, conthtuing day to dny thereafter as needed; and

                   lT IS FURTHER RECOMMENDED that Plaintitl's counsel fumish Plaintiff'sanswe•·s

    to interrogatories cc.rtifled by Plaintiff and any available meclical records ptior to the discovery

    depos!tion; and

                   IT IS FURTHER RECOMMENDED that additional costs associated with ordering a

    transcript on an expedited bus is, to the extent necessary, should be borne by the l)Jah1tiff. and

                   IT IS .FURTHER RECOMMENDED that all cotmselmay reschedule these depo~itlons

    without fllrther leave of C()urt; and

                   IT IS FURTHER RECOMMENDED that counsel should forward a copy ofthis

    recommendation to all counsel of record viu fucsimile     01'   email immediately upon receipt




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